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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

 UNITED STATES OF AMERICA,                   )
                                             )
        Plaintiff,                           )
                                             )      No. 6:11-CR-16-GFVT-HAI-4
 v.                                          )
                                             )    RECOMMENDED DISPOSITION
 SAMUEL KEITH MILLER,                        )
                                             )
        Defendant.                           )
                                     *** *** *** ***

       The Court, on referral (D.E. 244), considers reported violations of supervised release

conditions by Defendant Samuel Keith Miller. District Judge Van Tatenhove entered a judgment

against Defendant on September 9, 2011, for aiding and abetting his co-defendants (and vice

versa) to willfully and knowingly steal and purloin various property belonging to the United

States Department of Agriculture Forest Service, the total value of which exceeded $1,000.00.

D.E. 100.   The Judgment included 12 months of imprisonment and a three-year term of

supervised release to follow. Id. at 2–4. Defendant’s first term of supervised release began on

January 19, 2012.

       On September 18, 2013, the United States Probation Office (“USPO”) issued a

Supervised Release Violation report (“the Previous Report”) charging Defendant with three

violations, and secured a warrant from District Judge Van Tatenhove on September 23, 2013.

The Previous Report alleged that Defendant did not comply with the condition of his release that

states, “The defendant shall not commit another federal, state, or local crime.” It also alleged

that Defendant violated Standard Condition # 11: “The defendant shall notify the probation

officer within seventy-two hours of being arrested or questioned by a law enforcement officer.”
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Finally, the Report alleged that Defendant violated Standard Condition # 2: “The defendant shall

report to the probation officer and shall submit a truthful and complete written report within the

first five days of each month.” The underlying conduct was driving while intoxicated and failure

to submit monthly supervision reports. At the outset of the final supervised release hearing on

October 24, 2013, the parties stated that they had arrived at an agreed disposition: if Defendant

stipulated to all three violations, the United States would recommend revocation of supervised

release, incarceration for six months, and reimposition of supervised release for a term of 24

months. The Court adopted the parties’ recommendation and further recommended it to District

Judge Van Tatenhove. D.E. 180. On November 20, 2013, District Judge Van Tatenhove

adopted the undersigned’s Recommended Disposition. D.E. 190.

       On May 20, 2014, the USPO issued a Supervised Release Violation report (“the Report”)

charging Defendant with committing five violations of his supervised release, and secured a

warrant from District Judge Van Tatenhove on June 30, 2014. The Report first alleges that

Defendant violated the condition of his supervised release that states, “The defendant must report

to the probation office in the district to which the defendant is released within 72 hours of release

from the custody of the Bureau of Prisons.” The Report next alleges that Defendant did not

comply with the condition of his release that states, “The defendant shall not commit another

federal, state, or local crime.” The Report then alleges that Defendant violated Special Condition

No. 4: “The defendant shall abstain from the use of alcohol.” The Report further alleges that

Defendant committed a second violation of the condition that “[t]he defendant shall not commit

another federal, state, or local crime.” Finally, the Report alleges that Defendant violated

Standard Condition # 11: “The defendant shall notify the probation officer within seventy-two

hours of being arrested or questioned by a law enforcement officer.”




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       Specifically, the Report states that, while Defendant was released from the custody of the

Bureau of Prisons on April 7, 2014, Defendant had not contacted his supervising officer as of the

date of the Report (May 30, 2014). Additionally, on April 21, 2014, Defendant was charged in

Laurel County District Court with Alcohol Intoxication in a Public Place, and on May 5, 2014,

pled guilty to the charge. The Report states that he admitted to a Laurel County Sheriff’s officer

that he had been drinking “beer all day,” and that he was too intoxicated to perform field sobriety

tests. Finally, on April 22, 2014, Defendant was again arrested and charged with Alcohol

Intoxication in a Public Place. The Report avers that Defendant stole a bottle of Listerine from a

K-Mart in London and consumed the contents in a bathroom at the store. Defendant did not

report either of the arrests to his supervising USP Officer.

       The Court conducted an initial appearance pursuant to Rule 32.1 on July 15, 2014, and

set a final hearing following Defendant’s knowing, voluntary, and intelligent waiver of his right

to a preliminary hearing. D.E. 241. At that time, the United States made an oral motion for

interim detention, to which Defendant did not object. Id. Based on the heavy burden on

Defendant under 18 U.S.C § 3143(a), the Court found that detention was required. Id.

       At the final hearing on July 18, 2014, Defendant was afforded all rights due under Rule

32.1 and 18 U.S.C. § 3583. D.E. 243. At the outset of the hearing, the parties stated that they

had arrived at an agreed disposition: if Defendant stipulated to all of the violations, the United

States would recommend revocation of supervised release, incarceration for six months, and

reimposition of supervised release for a term of three months to be served at a halfway house.

For the purposes of Rule 32.1 proceedings, Defendant admitted the factual basis for all of the

violations, as described in the Report. Id.




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       The Court has evaluated the entire record, including the Supervised Release Violation

Report and accompanying documents, the Previous Report and accompanying documents, and

Defendant’s presentence investigation report. Additionally, the Court has considered all of the

18 U.S.C. § 3553 factors imported into the 18 U.S.C. § 3583(e) analysis. Under 18 U.S.C. §

3583(e)(3), a defendant’s maximum penalty for a supervised release violation hinges on the

gravity of the underlying offense of conviction. Defendant’s conviction pursuant to 18 U.S.C. §§

2 and 641, is a Class C felony. See 18 U.S.C. § 2, 18 U.S.C. § 641, 18 U.S.C. § 3559. For a

Class C felony, the maximum revocation sentence provided under 18 U.S.C. § 3583 is two years

of imprisonment. See 18 U.S.C. § 3583(e)(3). The Policy Statements in Chapter 7 of the

Guidelines provide advisory imprisonment ranges for revocation premised on criminal history (at

the time of original sentencing) and the “grade” of the particular violation proven. See United

States v. Perez-Arellano, 212 F. App’x 436, 438–39 (6th Cir. 2007) (“Although the policy

statements found in Chapter Seven of the United States Sentencing Guidelines recommend

ranges of imprisonment, U.S.S.G. § 7B1.4, such statements ‘are merely advisory’ and need only

be considered by the district court before sentence is imposed.”) (citation omitted).

       Under U.S. Sentencing Guidelines Manual § 7B1.1, Defendant’s admitted conduct

qualifies as a Grade C violation with respect to each violation. Given Defendant’s criminal

history category of I (the category at the time of the conviction in this District) and a Grade C

violation, see U.S. Sentencing Guidelines Manual § 7B1.2(b) (“Where there is more than one

violation of the conditions of supervision, or the violation includes conduct that constitutes more

than one offense, the grade of the violation is determined by the violation having the most

serious grade.”), Defendant’s range, under the Revocation Table of Chapter 7, is 3–9 months.

Both parties agreed to this calculation of the range.




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       The Court has considered all of the 18 U.S.C. § 3553 factors imported into the 18 U.S.C.

§ 3583(e) analysis, and finds that imprisonment of six months is appropriate based upon those

factors. The Guidelines suggest that the primary wrong in the supervised release context is

violation of the Court’s trust by an offender; the particular conduct is an important but secondary

issue. See U.S. Sentencing Guidelines Manual 7 Pt. A(3)(b) (“[A]t revocation the court should

sanction primarily the defendant’s breach of trust, while taking into account, to a limited degree,

the seriousness of the underlying violation and the criminal history of the violator.”).

       The nature and circumstances surrounding Defendant’s original offense are not a driving

factor in the Court’s analysis because the violative conduct is not directly related to the previous

criminal behavior.

       Defendant’s history and characteristics as pertain to this analysis revolve around

Defendant’s chronic alcoholism. Defendant has again returned to drinking, and resumed making

poor decisions leading to particularly dangerous actions. While, thankfully, Defendant was not

driving when he was arrested for either intoxication violation, the Court is not convinced that his

abstention from drinking and driving in regard to these violations is evidence that Defendant

would not drink and drive in the future if left to his own devices. Defendant has been involved

in at least three motor vehicle accidents as a result of his drinking, including the motorcycle

accident which formed the basis of his last set of violations. Defendant is to be commended for

his voluntary enrollment in an alcohol abuse treatment program prior to his arrest in this matter,

but Defendant needs to make a lifelong commitment to staying sober. The Court has not seen an

indication that Defendant has made that commitment.

       The need to protect the public and deter criminal conduct by Defendant weighs heavily in

the Court’s analysis. As noted above, Defendant engages in behavior that is dangerous to both




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himself and others when he drinks alcohol, particularly driving under the influence.

Incarcerating Defendant for six months will protect the public during this period, and will

hopefully help Defendant make better choices when he is released and placed back on supervised

release. The Court makes a recommendation to District Judge Van Tatenhove that Defendant

serve his three-month term of supervised release at a halfway house in the hopes of establishing a

stable and supportive environment that will educate Defendant on how to make good decisions

going forward.

       The need to provide education, training, and treatment is present, but not a strong factor.

Defendant clearly does need treatment for his alcoholism and any underlying mental health

problems. However, Defendant has had plenty of opportunity to learn from treatment and has

not. The Court is not optimistic that more court-ordered treatment will yield any appreciable

benefit.

       The Court has also considered the need to avoid unwarranted disparities.               The

recommended sentence is within the United States Sentencing Guidelines range, and thus avoids

such disparities.

       The nature of supervised release includes trust placed in Defendant to adhere to the

conditions of his release. Defendant did not repay that trust for a second time. A six-month term

of imprisonment upon revocation will give Defendant time to reflect on the trust placed in him,

and the Court hopes that after such reflection, Defendant will be able to make better decisions

during his new term of supervised release.

       A court also may reimpose supervised release, following revocation, for a maximum

period that usually subtracts any term of incarceration actually imposed due to the violation. See

18 U.S.C. § 3583(b) & (h). The post-revocation cap depends on the “term of supervised release




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authorized by statute for the offense that resulted in the original term of supervised release.” See

18 U.S.C. § 3583(h). Defendant’s conviction under 18 U.S.C. §§ 641 and 2 carried a maximum

supervised release term of three years. Under section 3583(h), the maximum at this point is

therefore three years “less any term of imprisonment . . . imposed upon revocation of supervised

release.” 18 U.S.C. § 3583(h). Defendant has already served a six-month term of incarceration

following his stipulation to previous violations. If this Recommended Disposition is adopted by

District Judge Van Tatenhove, Defendant will serve an additional six months of incarceration,

yielding a post-revocation cap of 24 months. The Court’s recommendation of three months is

below the cap, and therefore permissible. Defendant has not been successful on supervised

release; however, the indications are that Defendant’s lack of success may be due in part to lack

of a stable environment and support. The Court finds that reimposition of a short term of

supervised release to be served in a halfway house is therefore warranted.

       Based on the foregoing, the Court RECOMMENDS revocation and imprisonment for a

term of six months based on the violations found, with a three-month term of supervised release

under the conditions previously imposed to follow, with the additional condition that Defendant

reside at a halfway house for the duration of the term.

        The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of the statute. See also 18 U.S.C. § 3401(i). As

defined by § 636(b)(1), within fourteen days after being served with a copy of this recommended

decision, any party may serve and file written objections to any or all portions for consideration,

de novo, by the District Court. Failure to make timely objection consistent with the statute and

rule may, and normally will, result in waiver of further appeal to or review by the District Court




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and Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981); Thomas

v. Arn, 474 U.S. 140 (1985).

       This the 21st day of July, 2014.




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